    Case: 1:13-cv-02116 Document #: 32 Filed: 12/13/13 Page 1 of 3 PageID #:151




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JOHN NICHOLAS, Derivatively on behalf of)
TELLABS, INC.,                          )
                                        )
                  Plaintiff,            ) Case No. 1:13-cv-2116
                                        )
      v.                                ) Honorable Sara L. Ellis
                                        )
                                        )
MICHAEL J. BIRCK, BO HEDFORS,           )
FRANK IANNA, VINCENT D. KELLY,          )
MICHAEL E. LAVIN, STEPHANIE PACE        )
MARSHALL, GREGORY J. ROSSMANN,          )
DENNIS F. STRIGL, JAN H. SUWINSKI,      )
VINCENT H. TOBKIN, MIKEL H.             )
WILLIAMS, LINDA W. KAHANGI, JOHN        )
BROTS, ROGER J. HEINZ, JEAN K.          )
HOLLEY, TIMOTHY J. WIGGINS and          )
THOMAS P. MINICHIELLO,                  )
                                        )
                  Defendants,           )
    -and-                               )
                                        )
TELLABS, INC.,                          )
                                        )
               Nominal Defendant.       )
_______________________________________ )

                               STIPULATION OF DISMISSAL

       Plaintiff John Nicholas, derivatively and on behalf of Tellabs, Inc., and Defendants

Michael J. Birck, Bo Hedfors, Frank Ianna, Vincent D. Kelly, Michael E. Lavin, Stephanie Pace

Marshall, Gregory J. Rossmann, Dennis F. Strigl, Jan H. Suwinski, Vincent H. Tobkin, Mikel H.

Williams, Linda W. Kahangi, John Brots, Roger J. Heinz, Jean K. Holley, Timothy J. Wiggins,

and Thomas P. Minichiello, by and through their respective counsel, advise the Court that

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), they stipulate to dismissal of this

action without prejudice with each party to bear its own costs and expenses.
    Case: 1:13-cv-02116 Document #: 32 Filed: 12/13/13 Page 2 of 3 PageID #:152




Respectfully submitted,

One of the Attorneys for Plaintiffs:        One of the Attorneys for Defendants:


s/Frank J. Johnson___________________       s/Melanie E. Walker_______________
JOHNSON & WEAVER, LLP                       SIDLEY AUSTIN LLP
Frank J. Johnson                            David F. Graham
Shawn E. Fields                             James W. Ducayet
110 West “A” Street, Suite 750              Melanie E. Walker
San Diego, California 92101                 Kathleen L. Carlson
Tel: (619) 230-0063                         One South Dearborn Street
Fax: (619) 255-1856                         Chicago, Illinois 60603
                                            Tel: (312) 853-7000
THE LAW OFFICES OF EDWARD T.                Fax: (312) 853-7036
JOYCE & ASSOCIATES, P.C.
Edward T. Joyce
Rowena T. Parma
135 South LaSalle Street, Suite 2200
Chicago, Illinois 60603
Tel: (312) 641-2600
Fax: (312) 641-0360


Dated: December 13, 2013




                                        2
    Case: 1:13-cv-02116 Document #: 32 Filed: 12/13/13 Page 3 of 3 PageID #:153




                              CERTIFICATE OF SERVICE

        I, Melanie E. Walker, one of the attorneys for Defendants, hereby certify that on
December 13, 2013, service of the foregoing pleading was accomplished pursuant to ECF as to
Filing Users and in compliance with LR 5.5 as to any party who is not a Filing User or
represented by a Filing User.




                                                  s/Melanie E. Walker
